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CO 526 Rev. 5/2018

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

VS. Criminal Case No.; 24cr438 (LLA)

ABOUZAR RAHMATI

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WAIVER OF TRIAL BY JURY

With the consent of the United States Attorney and the approval of the Court, the defendant

waives his right to trial by jury.

Defendant

Oe

‘ounsel fot Defendant

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Assistant Unitdd States attorney

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Approved:

A Cie Date: 4/16/2025
OC
Hon. Loren L. AliKhan

United States District Judge
